                                   Case 23-11223-reg                Doc 1        Filed 09/22/23           Page 1 of 37


Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF INDIANA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                PlungeLife, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  347 Quell Ct.                                                   429 E Dupont Rd #268
                                  Fort Wayne, IN 46845                                            Fort Wayne, IN 46825
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Allen                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.plungelife.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 23-11223-reg               Doc 1         Filed 09/22/23              Page 2 of 37
Debtor    PlungeLife, LLC                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2389

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                           Case 23-11223-reg                  Doc 1        Filed 09/22/23               Page 3 of 37
Debtor    PlungeLife, LLC                                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                  No
    pending or being filed by a
    business partner or an                    Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                           Debtor                                                                    Relationship
                                                      District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                 preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                  No
    have possession of any
    real property or personal                        Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                            Yes.
    property that needs
    immediate attention?                             Why does the property need immediate attention? (Check all that apply.)
                                                        It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?
                                                        It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                       livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                        Other
                                                     Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                     Is the property insured?
                                                        No
                                                        Yes.     Insurance agency
                                                                 Contact name
                                                                 Phone



          Statistical and administrative information

13. Debtor's estimation of             .          Check one:
    available funds
                                                     Funds will be available for distribution to unsecured creditors.

                                                     After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                     1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                                5001-10,000                                 50,001-100,000
                                            50-99
                                            100-199                                          10,001-25,000                               More than100,000
                                            200-999

15. Estimated Assets                        $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                            $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                            $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                            $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                   $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                           Case 23-11223-reg             Doc 1       Filed 09/22/23          Page 4 of 37
Debtor   PlungeLife, LLC                                                           Case number (if known)
         Name


                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                  Case 23-11223-reg                  Doc 1        Filed 09/22/23              Page 5 of 37
Debtor    PlungeLife, LLC                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 22, 2023
                                                  MM / DD / YYYY


                             X /s/ Eric Shippy                                                            Eric Shippy
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member




18. Signature of attorney    X /s/ Adam G. Golden                                                          Date September 22, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Adam G. Golden
                                 Printed name

                                 Golden Law, PC
                                 Firm name

                                 822 Mill Lake Road
                                 Fort Wayne, IN 46845
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     260-637-7100                  Email address      adamgolden@goldenlaw.biz

                                 29666-02 IN
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                     Case 23-11223-reg                  Doc 1         Filed 09/22/23            Page 6 of 37


Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF INDIANA

Case number (it known)
                             --------------------------------- Chapter                        7
                                                                                                                              0   Check if this an
                                                                                                                                  amended filing




Official Form 201
Voluntary PetitionJor Non-Individuals Filing for Bankruptcy                                                                                                  06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S .C. §§ 152, 1341, 1519, and 3571.

 17. Declaration and signature
     of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
     representative of debtor
                                   I have been authorized to file this petition on behalf of the debtor.

                                   I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                   I declare under penalty of perjury that the foregoing is true and correct.

                                   Executed on



                                                                                                           Eric Shippy
                                                                                                           Printed name




 18. Signature of attorney     X                                                                            Date August 30, 2023
                                                                                                                 MM/DD/YYYY

                                   Adam G. Golden
                                   Printed name

                                   Golden Law PC
                                   Firm name

                                   822 Mill Lake Road
                                   Fort Wayne, IN 46845
                                   Number, Street, City, State & ZIP Code


                                   Contact phone      260-637-71 00                 Email address      adamgolden@goldenlaw.biz


                                   29666-021N
                                   Bar number and State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 1
                                    Case 23-11223-reg                 Doc 1        Filed 09/22/23          Page 7 of 37




I
    Fill in this information to identify the case:

    Debtor name     Plunge Life, LLC

    United States Bankruptcy Court for the:   NORTHERN DISTRICT OF INDIANA

    Case number (if known)
                                                                                                                              0   Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized. to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING-- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                 Declaration and signature


         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
         individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          0       Schedule AlB: AsSets-Real and Personal Properly (Official Form 206NB)
          0       ScheduleD: Creditors Who Have Claims Secured by Properly (Official Form 206D)
          0       Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          0       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          0       Schedule H: Code~tors (Official Form 206H)
          0       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          0       Amended Schedule
          0       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
          0       Other document that requires a declaration



           Executed on       August 30, 2023


                                                               Eric Shippy
                                                               Printed name

                                                               Member
                                                               Position or relationship to debtor




    Official Form 202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
                                  Case 23-11223-reg                 Doc 1         Filed 09/22/23             Page 8 of 37




Fill in this information to identify the case:

Debtor name          PlungeLife, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                           0   Check if this is an
                                                                                                                               amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                             04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

l:t!'fii(M Signature and Declaration
     WARNING-- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

 Executed on

                                                                Eric Shippy
                                                  aebtor        Printed name

 Position or relationship to debtor   -=-M=e:.om:..:b:..:e:.:.r_ _ _ _ _ _ _ _ _ _ _ _ _ __

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
•No
DYes




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 1
                              Case 23-11223-reg             Doc 1      Filed 09/22/23         Page 9 of 37



(6/201 0)
                                               United States Bankruptcy Court
                                                    Northern District of Indiana
 In re      Plungelife, LLC                                                                     Case No.
                                                                    Debtor(s)                   Chapter     _7"--------------




                                  VERIFICATION OF CREDITOR MATRIX

     The above-named debtor(s) verifies under penalty of perjury that the attached list of creditors is true and correct to the best of
his/her knowledge.




Date:       August 30,2023
                                                 Case 23-11223-reg                               Doc 1              Filed 09/22/23                     Page 10 of 37
82030 (Form 2030) (12/15)
                                                                              United States Bankruptcy Court
                                                                                        Northern District of Indiana
     In re        Plungelife, LLC                                                                                                                          Case No.
                                                                                                                 Debtor(s)                                 Chapter    7

                                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.       Pursuant to 11 U .S.C.§ 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
         compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
         be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

                  For legal services, I have agreed to accept·--------------------------------------------------------------------------------------   $                  0.00
                  Prior to the filing of this statement I have received_____________________________________________________________________ _         $                  0.00
                  Balance Due                                                                                                                          $                  0.00

2.       The source of the compensation paid to me was:

                  •     Debtor               0      Other (specify):

3.       The source of compensation to be paid to me is:

                  •     Debtor               0     'Other (specify):

4.           •   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             0 I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                 copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.           In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a.      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
         b.      Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
         c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         d.      [Other provisions as needed]


6.       By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                 Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                 any other adversary proceeding.

                                                                    CERTIFIITA   TIO
       I certify that the foregoing is a complete statement of any agreement or arr g D e
                                                                                        fornpat
                                                                                              \,ment to me for representation of the debtor( s) in
 this bankruptcy proceeding.

        August 30, 2023
        Date                                                                                                  .~dam G. Golden
                                                                                                                Signature ofAttorney
                                                                                                                Golden Law, PC
                                                                                                                822 Mill Lake Road
                                                                                                                Fort Wayne, IN 46845
                                                                                                                260-637-7100 Fax: 260-637-3100
                                                                                                                adamgolden@goldenlaw .biz
                                                                                                                Name oflaw firm
                               Case 23-11223-reg                 Doc 1         Filed 09/22/23          Page 11 of 37




Fill in this information to identify the case:

Debtor name         PlungeLife, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 22, 2023              X /s/ Eric Shippy
                                                           Signature of individual signing on behalf of debtor

                                                            Eric Shippy
                                                            Printed name

                                                            Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                            Case 23-11223-reg                                  Doc 1              Filed 09/22/23                         Page 12 of 37

 Fill in this information to identify the case:

 Debtor name            PlungeLife, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                     0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    25.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    25.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                     0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                     0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            73,300.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $               73,300.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                               Case 23-11223-reg                Doc 1        Filed 09/22/23            Page 13 of 37

Fill in this information to identify the case:

Debtor name         PlungeLife, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Premier Bank                                      Business Checking                     0941                                         $25.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                          $25.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
                                Case 23-11223-reg               Doc 1        Filed 09/22/23            Page 14 of 37

Debtor       PlungeLife, LLC                                                               Case number (If known)
             Name




Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:     Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                   page 2
                                       Case 23-11223-reg                          Doc 1             Filed 09/22/23                  Page 15 of 37

Debtor          PlungeLife, LLC                                                                                     Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                   $25.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                    $25.00        + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                         $25.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 3
                                Case 23-11223-reg               Doc 1        Filed 09/22/23           Page 16 of 37

Fill in this information to identify the case:

Debtor name       PlungeLife, LLC

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
                                  Case 23-11223-reg                     Doc 1          Filed 09/22/23                  Page 17 of 37

Fill in this information to identify the case:

Debtor name        PlungeLife, LLC

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,500.00
          A-Abel Electric Co.                                                  Contingent
          440 Congress Park Dr.                                                Unliquidated
          Dayton, OH 45459                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Services rendered
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Annette Foister                                                      Contingent
          5219 Sabra Ave.                                                      Unliquidated
          Dayton, OH 45424                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,500.00
          Axle Logistics                                                       Contingent
          835 N Central St.                                                    Unliquidated
          Knoxville, TN 37917                                                  Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Consumer goods
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Brandon Skinner                                                      Contingent
          430 Old Trail Rd.                                                    Unliquidated
          Sanibel, FL 33957                                                    Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 5
                                                                                                          31624
                               Case 23-11223-reg                Doc 1         Filed 09/22/23                 Page 18 of 37

Debtor      PlungeLife, LLC                                                                 Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,000.00
         Buckeys Pools                                                Contingent
         671 Miamisburg Centreville Rd.                               Unliquidated
         Dayton, OH 45458                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services rendered
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Charles Haugh                                                Contingent
         413 55th St                                                  Unliquidated
         Saint Petersburg, FL 33706                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Contract for installation of pool
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Dan Holahan                                                  Contingent
         1006 E Clifton St                                            Unliquidated
         Pompano Beach, FL 33064                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Contract for installation of pool
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         David Ahern                                                  Contingent
         2323 West Fairview Ave                                       Unliquidated
         McHenry, IL 60051                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Contract for installation of pool
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,000.00
         Deans Landscaping                                            Contingent
         PO Box 933                                                   Unliquidated
         Xenia, OH 45385                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services rendered
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,500.00
         Deep Splash Pools                                            Contingent
         2706 Evergreen Cir                                           Unliquidated
         McHenry, IL 60050                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Consumer goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Dinee Simpson                                                Contingent
         c/o Sarah Fowler                                             Unliquidated
         101 West Ohio Street, Suite 1700                             Disputed
         Indianapolis, IN 46204
                                                                   Basis for the claim: Contract for installation of pool
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 2 of 5
                               Case 23-11223-reg                Doc 1         Filed 09/22/23                 Page 19 of 37

Debtor      PlungeLife, LLC                                                                 Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Duminda Unatenne                                             Contingent
         3680 Middlebury Ln                                           Unliquidated
         Bloomfield Hills, MI 48301                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Contract for installaion of pool
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,000.00
         Froggys Outdoor Service                                      Contingent
         20729 Robinson St                                            Unliquidated
         Farmington, MI 48333                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Consumer goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,000.00
         Great Lakes Power & Equipment                                Contingent
         23049 Joy St.                                                Unliquidated
         Saint Clair Shores, MI 48082                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services rendered
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,500.00
         Krystal Klear Pools                                          Contingent
         9703 Mandon Rd                                               Unliquidated
         White Lake, MI 48386                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Consumer goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Manley Seale                                                 Contingent
         1122 Richmond Dr.                                            Unliquidated
         Nashville, TN 37216                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Contract for installation of pool
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Marion & Mike Leavell                                        Contingent
         c/o Christopher Moon, Esq.                                   Unliquidated
         803 S. Calhoun St., Suite 110                                Disputed
         Fort Wayne, IN 46802
                                                                   Basis for the claim: Collections lawsuit
         Date(s) debt was incurred
         Last 4 digits of account number L500                      Is the claim subject to offset?     No       Yes


3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,000.00
         MV Landscape LLC                                             Contingent
         PO Box 43                                                    Unliquidated
         Washington, MI 48094                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services rendered
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 5
                                  Case 23-11223-reg                    Doc 1          Filed 09/22/23                    Page 20 of 37

Debtor       PlungeLife, LLC                                                                        Case number (if known)
             Name

3.19      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $8,000.00
          Pool Corp                                                           Contingent
          109 Northpark Blvd                                                  Unliquidated
          Covington, LA 70433-5521                                            Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Consumer goods
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.20      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $10,000.00
          Pool Cover Pros                                                     Contingent
          PO Box 246                                                          Unliquidated
          Chebanse, IL 60922                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Consumer goods
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.21      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $12,000.00
          Raffale Mautone                                                     Contingent
          c/o Brian Summerfield, Esq.                                         Unliquidated
          211 West Fort St., Suite 1410
                                                                               Disputed
          Detroit, MI 48226
                                                                           Basis for the claim: Defective product claim
          Date(s) debt was incurred
          Last 4 digits of account number 0237                             Is the claim subject to offset?         No    Yes

3.22      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,300.00
          Stoneburner Contruction LLC                                         Contingent
          2528 Sugar Tree Dr.                                                 Unliquidated
          Fort Wayne, IN 46818                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Services rendered
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Dan Holahan
          1006 E Clifton St                                                                         Line     3.7
          Pompano Beach, FL 33064
                                                                                                           Not listed. Explain

4.2       Dinee Simpson
          2134 W Wellington Ave                                                                     Line     3.11
          IL 60818
                                                                                                           Not listed. Explain

4.3       Tim Sipe
          116 S. Main St.                                                                           Line     3.17
          Bluffton, IN 46714
                                                                                                           Not listed. Explain

4.4       Wendy D. Brewer
          333 N. Alabama Street, Ste. 350                                                           Line     3.7
          Indianapolis, IN 46204
                                                                                                           Not listed. Explain


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 5
                               Case 23-11223-reg                   Doc 1    Filed 09/22/23              Page 21 of 37

Debtor      PlungeLife, LLC                                                             Case number (if known)
            Name

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                              5a.       $                          0.00
5b. Total claims from Part 2                                                              5b.   +   $                     73,300.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.       $                        73,300.00




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 5 of 5
                               Case 23-11223-reg                 Doc 1         Filed 09/22/23            Page 22 of 37

Fill in this information to identify the case:

Debtor name       PlungeLife, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
                             Case 23-11223-reg                Doc 1        Filed 09/22/23            Page 23 of 37

Fill in this information to identify the case:

Debtor name      PlungeLife, LLC

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
                              Case 23-11223-reg                  Doc 1        Filed 09/22/23             Page 24 of 37




Fill in this information to identify the case:

Debtor name         PlungeLife, LLC

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                  Unknown
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                                  Unknown
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $124,065.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
                               Case 23-11223-reg                  Doc 1        Filed 09/22/23             Page 25 of 37
Debtor       PlungeLife, LLC                                                                    Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             Froggys Outdoor Service                               In or around                     $10,000.00                Secured debt
             20729 Robinson St                                     July 2023                                                  Unsecured loan repayments
             Farmington, MI 48333
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                  Status of case
             Case number                                                           address
      7.1.   Marion & Mike Leavell vs                  Collection                  Whitley Superior Court                          Pending
             Plungelife LLC, Plungie USA                                           Columbia City, IN 46725                         On appeal
             Inc.
                                                                                                                                   Concluded
             92D01-2306-PL-000500

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
                               Case 23-11223-reg                  Doc 1         Filed 09/22/23                Page 26 of 37
Debtor      PlungeLife, LLC                                                                       Case number (if known)



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                  Dates given                           Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                      Dates transfers             Total amount or
                                                                                                                were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

Part 8:     Health Care Bankruptcies


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15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Fort Wayne Storage                                     Eric Shippy                           Cleaning supplies                              No
      12710 Lima Rd                                                                                                                               Yes
      Fort Wayne, IN 46818



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Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

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      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Jackie Alford CPA                                                                                               2021-2023
                    5711 S 100 W
                    Poneto, IN 46781

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Eric Shippy                             347 Quell Ct.                                       Member                                    100%
                                              Fort Wayne, IN 46845



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?


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Debtor      PlungeLife, LLC                                                                     Case number (if known)




           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 22, 2023

/s/ Eric Shippy                                                 Eric Shippy
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Northern District of Indiana
 In re       PlungeLife, LLC                                                                                  Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                      CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 22, 2023                                                       /s/ Adam G. Golden
     Date                                                                     Adam G. Golden
                                                                              Signature of Attorney
                                                                              Golden Law, PC
                                                                              822 Mill Lake Road
                                                                              Fort Wayne, IN 46845
                                                                              260-637-7100 Fax: 260-637-3100
                                                                              adamgolden@goldenlaw.biz
                                                                              Name of law firm
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(6/2010)
                                               United States Bankruptcy Court
                                                     Northern District of Indiana
 In re     PlungeLife, LLC                                                                      Case No.
                                                                    Debtor(s)                   Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX

     The above-named debtor(s) verifies under penalty of perjury that the attached list of creditors is true and correct to the best of
his/her knowledge.




Date:      September 22, 2023                           /s/ Eric Shippy
                                                        Eric Shippy/Member
                                                        Signer/Title
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            A-ABEL ELECTRIC CO.
            440 CONGRESS PARK DR.
            DAYTON, OH 45459


            ANNETTE FOISTER
            5219 SABRA AVE.
            DAYTON, OH 45424


            AXLE LOGISTICS
            835 N CENTRAL ST.
            KNOXVILLE, TN 37917


            BRANDON SKINNER
            430 OLD TRAIL RD.
            SANIBEL, FL 33957


            BUCKEYS POOLS
            671 MIAMISBURG CENTREVILLE RD.
            DAYTON, OH 45458


            CHARLES HAUGH
            413 55TH ST
            SAINT PETERSBURG, FL 33706


            DAN HOLAHAN
            1006 E CLIFTON ST
            POMPANO BEACH, FL 33064


            DAVID AHERN
            2323 WEST FAIRVIEW AVE
            MCHENRY, IL 60051


            DEANS LANDSCAPING
            PO BOX 933
            XENIA, OH 45385
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        DEEP SPLASH POOLS
        2706 EVERGREEN CIR
        MCHENRY, IL 60050


        DINEE SIMPSON
        C/O SARAH FOWLER
        101 WEST OHIO STREET, SUITE 1700
        INDIANAPOLIS, IN 46204


        DINEE SIMPSON
        2134 W WELLINGTON AVE
        IL 60818


        DUMINDA UNATENNE
        3680 MIDDLEBURY LN
        BLOOMFIELD HILLS, MI 48301


        FROGGYS OUTDOOR SERVICE
        20729 ROBINSON ST
        FARMINGTON, MI 48333


        GREAT LAKES POWER & EQUIPMENT
        23049 JOY ST.
        SAINT CLAIR SHORES, MI 48082


        KRYSTAL KLEAR POOLS
        9703 MANDON RD
        WHITE LAKE, MI 48386


        MANLEY SEALE
        1122 RICHMOND DR.
        NASHVILLE, TN 37216


        MARION & MIKE LEAVELL
        C/O CHRISTOPHER MOON, ESQ.
        803 S. CALHOUN ST., SUITE 110
        FORT WAYNE, IN 46802
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        MV LANDSCAPE LLC
        PO BOX 43
        WASHINGTON, MI 48094


        POOL CORP
        109 NORTHPARK BLVD
        COVINGTON, LA 70433-5521


        POOL COVER PROS
        PO BOX 246
        CHEBANSE, IL 60922


        RAFFALE MAUTONE
        C/O BRIAN SUMMERFIELD, ESQ.
        211 WEST FORT ST., SUITE 1410
        DETROIT, MI 48226


        STONEBURNER CONTRUCTION LLC
        2528 SUGAR TREE DR.
        FORT WAYNE, IN 46818


        TIM SIPE
        116 S. MAIN ST.
        BLUFFTON, IN 46714


        WENDY D. BREWER
        333 N. ALABAMA STREET, STE. 350
        INDIANAPOLIS, IN 46204
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                                         United States Bankruptcy Court
                                               Northern District of Indiana
 In re   PlungeLife, LLC                                                              Case No.
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                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for PlungeLife, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 22, 2023                              /s/ Adam G. Golden
Date                                            Adam G. Golden
                                                Signature of Attorney or Litigant
                                                Counsel for PlungeLife, LLC
                                                Golden Law, PC
                                                822 Mill Lake Road
                                                Fort Wayne, IN 46845
                                                260-637-7100 Fax:260-637-3100
                                                adamgolden@goldenlaw.biz
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                                               Northern District of Indiana
 In re   PlungeLife, LLC                                                              Case No.
                                                             Debtor(s)                Chapter    _7:____ _ _ _ _ _ _ __




                             CORPORATE OWNERSIDP STATEMENT (RULE 7007.1)


Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for PlungeLife, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) I 0% or more of any class of
the corporation's( s') equity interests, or states that there are no entities to report under FRBP 7007 .I:




• None [Check if applicable]




August 30, 2023
Date                                            Adam G. Golden
                                                Signature of Attorney or Litigant
                                                Counsel for PlungeLife, LLC
                                                Golden Law, PC
                                                822 Mill Lake Road
                                                Fort Wayne, IN 46845
                                                260-637-7100 Fax:260-637-3100
                                                adamgolden@goldenlaw.biz
